       Case 1-18-01052-cec            Doc 15       Filed 08/02/18   Entered 08/03/18 08:31:32




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                  Chapter 11

FMTB BH LLC,                                                            Case No. 18-42228-cec

                                             Debtor.
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FMTB BH LLC,                                                            Adv. Pro. No. 18-01052-cec

                                            Plaintiff,

          against

1988 MORRIS AVENUE LLC, 1974 MORRIS
AVENUE LLC, 700 BECK STREET LLC, 1143
FOREST AVENUE LLC, and 1821 TOPPING
AVENUE LLC,

                                             Defendants.
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                     ORDER DENYING DEFENDANTS’ MOTION TO DISMISS

        UPON the Defendants’ Motion for an Order pursuant to Federal Rule of Civil Procedure

12(b)(6) as made applicable herein by Federal Rule of Bankruptcy Procedure 7012(b) dismissing

Plaintiff’s adversary proceeding on the ground that it fails to state a claim upon which relief may

be granted, supported by Defendants’ Memorandum of Law In Support and the Declarations of

Brian J. Markowitz and Ihsan Saleem [Adv. Doc. Nos. 9, 11] (the “Dismissal Motion”); and

upon the Plaintiff-Debtor’s Memorandum of Law in Opposition to the Dismissal Motion [Adv.

Doc. No. 12]; and upon the Defendants’ Reply Memorandum in Further Support of the Dismissal

Motion [Adv. Doc. No. 14]; and the Plaintiff-Debtor having appeared in support of the Dismissal

Motion by its counsel, Robinson Brog Leinwand Greene Genovese & Gluck P.C.; and the

Defendants having appeared in support of the Dismissal Motion by their counsel Goldstein Hall

PLLC; and hearing having been held on July 25, 2018; and for the reasons set forth on the record


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at the hearing and sufficient cause appearing therefor, it is hereby

        ORDERED, that the Dismissal Motion is denied.




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 Dated: Brooklyn, New York                                              Carla E. Craig
        August 2, 2018                                          United States Bankruptcy Judge


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